                                   Case 4:16-cv-40015-TSH Document 1-1 Filed 02/17/16 Page 1 of 2
J544 (Rev. 12/12)                                                            CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

L (a) PLAINTIFFS
John P. Lauring, The Lauring Charitable Foundation, and the Lauring                                         sPiXRADMISs
Family Trust

     (h) County of Residence of First Listed Plaintiff            Worcester                                   County of Residence of First Listed Defendant    Middlesex
                                   (EXCEPTIN U.S PLAINT/I,' CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

                                                                                                               Attorneys (If Known)
Locfa 4,87gagrnetcAMEsHatadef7gilv,ifig, 311 Main Street,
P.O. Box 15156, Worcester, MA 01615-0156


II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                          I. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" rn One Box fir Plaintiff
                                                                                                          For Diversity Cases Only)                                       and One Box for Defendant)
O I     U.S. Government                M 3     Federal Question                                                                   PTF        DEF                                         PTF      DEF
           Plaintiff                             (US. Government Not a Party)                       Citizen of This State         0 I        0 1     Incorporated or Principal Place      0 4     0 4
                                                                                                                                                        of Business In This State

0 2     U.S. Government                0 4     Diversity                                            Citizen of Another State          0 2    0   2   Incorporated and Principal Place     0 5      0 5
           Defendant                             (Indicate Citizenship ofPartiesin Item III)                                                            of Business In Another State

                                                                                                    Citizen or Subject of a           0 3    0   3   Foreign Nation                       0 6      0 6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an "X" in One Box Only)
         ' CONTRACT                     -                       TORTS':                                 FORFEITURE/PENALTY                       A     U
0    110 Insurance                      PERSONAL INJURY                PERSONAL INJURY              0 625 Drug Related Seizure          0 422 Appeal 28 USC 158          0   375 False Claims Act
O    120 Marine                       0 310 Airplane                 0 365 Personal Injury -              of Property 21 USC 881        0 423 Withdrawal                 0   400 State Reapportionment
0    130 Miller Act                   0 315 Airplane Product                Product Liability       0 690 Other                               28 USC 157                 0   410 Antitrust
0    140 Negotiable Instrument               Liability               0 367 Health Care/                                                                                  0   430 Banks and Banking
0    ISO Recovery of Overpayment      0 320 Assault, Libel &               Pharmaceutical                                                  ROPER       RIGHTS            0   450 Commerce
         & Enforcement ofJudgment            Slander                       Personal Injury                                              0 820 Copyrights                 0   460 Deportation
O    151 Medicare Act                 0 330 Federal Employers'             Product Liability                                            0 830 Patent                     0   470 Racketeer Influenced and
0    152 Recovery of Defaulted               Liability               0 368 Asbestos Personal                                            0 840 Trademark                          Corrupt Organizations
         Student Loans                0 340 Marine                         Injury Product                                                                               0    480 Consumer Credit
         (Excludes Veterans)          0 345 Marine Product                 Liability                             LABOR                      SOCIAL SECURITY             0    490 Cable/Sat TV
O    153 Recovery of Overpayment             Liability                PERSONAL PROPERTY             0   710 Fair Labor Standards        0   861 HIA (1395ff)            19   850 Securities/Commodities/
         of Veteran's Benefits        0 350 Motor Vehicle            0 370 Other Fraud                       Act                        0   862 Black Lung (923)                 Exchange
0    160 Stockholders' Suits          0 355 Motor Vehicle            0 371 Truth in Lending         0   720 Labor/Management            0   863 DIWC/DIWW (405(g))       0   890 Other Statutory Actions
0    190 Other Contract                     Product Liability        0 380 Other Personal                    Relations                  0   864 SSID Title XVI           0   891 Agricultural Acts
0    195 Contract Product Liability   0 360 Other Personal                 Property Damage          0   740 Railway Labor Act           0   865 RSI (405(g))             0   893 Environmental Matters
0    196 Franchise                          Injury                   0 385 Property Damage          0   751 Family and Medical                                           0   895 Freedom of Information
                                      0 362 Personal Injury-               Product Liability                 Leave Act                                                            Act
                                            Medical Malpractice                                     0   790 Other Labor Litigation                                       0   896 Arbitration
I     = REAL PROPERTY                     CV       I                  P      ONERPET IONS           0   791 Employee Retirement                     L TAX SUITS          0   899 Administrative Procedure
 O   210 Land Condemnation            0 44t1 Other Civil Rights           Habeas Corpus:                    Income Security Act         0 870 Taxes (U.S. Plaintiff              Act/Review or Appeal of
 O   220 Foreclosure                  0 441 Voting                   0    463 Alien Detainee                                                   or Defendant)                     Agency Decision
 0   230 Rent Lease & Ejectment       0 442 Employment               0    510 Motions to Vacate                                         0 871 IRS—Third Party            0   950 Constitutionality of
 0   240 Torts to Land                0 443 Housing/                          Sentence                                                         26 USC 7609                       State Statutes
 0   245 Tort Product Liability              Accommodations          0    530 General
 0   290 All Other Real Property      0 445 Amer. w/Disabilities -   0    535 Death Penalty              'IMMIGRATION_._. .
                                            Employment                    Other:                    0 462 Naturalization Application
                                      0 446 Amer. w/Disabilities -   0    540 Mandamus & Other      0 465 Other Immigration
                                            Other                    0    550 Civil Rights                Actions
                                      0 448 Education                0    555 Prison Condition
                                                                     0    560 Civil Detainee -
                                                                              Conditions of
                                                                              Confinement

V. ORIGIN (Place an "X"i              One Box Only)
>4 1    Original          0 2 Removed from                 0 3       Remanded from             0 4 Reinstated or   0 5 Transferred from            0 6 Multidistrict
        Proceeding            State Court                            Appellate Court               Reopened               Another District                 Litigation
                                                                                                                          6Peain)
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            15 O.S.C. § 78j(b)(5)
VI. CAUSE OF ACTION                         Brief description of cause:
                      Fraud, Violation of the SEC Act, Breach of Contract, Civil Conspiracy, Gross Negligence, Breach of Fiduciary Duty
VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION         DEMAND $                       CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                7,000,000.00                 JURY DEMAND:        14 Yes 0 No
VIII. RELATED CASE(S)
                        (See instructions):
     IF ANY                                 JUDGE                                         DOCKET NUMBER
DAT ,                                                                     SIG      URE OF ATTOR EYO
02/U/2016
FOR OFFICE USE ONLY

     RECEIPT if                    AMOUNT                                       APPLYING IFP                                  JUDGE                         MAG. JUDGE
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Defendants

Lee D. Weiss

Family Endowment Partners, LP

Family Endowment Partners, LLC

FEP Fund I, LP

FEP Fund II, Ltd.

Catamaran Holdings Fund, Ltd.

Mosaic Enterprises, Inc.

Mosaic Investment Partners, Inc.

Catamaran Management Co., Inc.

PartnersAdmin, LLC

Reach and Apply Defendants

FEP Fund I, LP

FEP Fund II, Ltd.

Catamaran Holdings Fund, Ltd.

Weiss Capital Real Estate Group, LLC

Mosaic Investment Partners, Inc.

MIP Global, Inc., f/k/a Mosaic Investment Partners, Inc.

Mosaic Enterprises, Inc.

Catamaran Management Co., Inc.




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